

People v Pessoa (2024 NY Slip Op 05836)





People v Pessoa


2024 NY Slip Op 05836


Decided on November 21, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2024

Before: Webber, J.P., Singh, Gesmer, Pitt-Burke, Michael, JJ. 


Ind No. 1709/18 Appeal No. 3091 Case No. 2019-1923 

[*1]The People of the State of New York, Respondent,
vSean Pessoa, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ji Hyun Rhim of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Harold Adler, J., at plea; George R. Villegas, J., at sentencing), rendered December 5, 2018, convicting defendant, upon his plea of guilty, of attempted assault in the second degree, and sentencing him, as a second felony offender, to a term of one and 1½ to 3 years, unanimously affirmed.
Regardless of whether defendant made a valid waiver of his right to appeal, his claim that the order of protection imposed at sentencing was procedurally defective requires preservation (see People v Nieves, 2 NY3d 310, 315-317 [2004]; People v Key, 222 AD3d at 573), and we decline to review it in the interest of justice. In this regard, we note that defendant agreed to the final order of protection as a condition of the plea agreement (see People v Augustin-Miranda, 215 AD3d 981 [2d Dept 2023], lv denied 40 NY3d 949 [2023]). As an alternative holding, we find that the record sufficiently reflects the reasons for the imposition of the order of protection (see People v Gonzalez, 178 AD3d 440 [1st Dept 2019], lv denied 35 NY3d 941 [2020]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2024








